                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                                 (Milwaukee Division)

JOHN DOE,

          Plaintiff,


v.                                                  Civil Action No. 19-cv-388

MARIAN UNIVERSITY,

          Defendants.



                         MEET AND CONFER CERTIFICATION

1. Due to the impracticability of the expert disclosure deadline, Plaintiff met and

     conferred with Defendant the following day on September 13, 2019 at 1:07 PM,

     requesting a two-week extension for expert designations, from September 16,

     2019 to September 30, 2019, and offering a similar extension for Defendant’s

     deadline. Exhibit 1, page 1. All email correspondence included counsel of record

     for Plaintiff, Jesse R. Binnall and Lindsay R. McKasson, as well as counsel for

     Defendant, Lori Lubinsky and Danielle Baudhuin.

2. Defendant denied the request on September 13, 2019 at 5:22 PM. Exhibit 1, page

     2.

3. Plaintiff followed-up with a meet and confer letter and offered to set a conference

     by phone in order to resolve the issue without a motion on September 17, 2019 at

     5:41 PM. Exhibit 1, page 4.




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4. Defendant denied the request once more on September 18, 2019 at 4:38 PM,

   citing concern with the upcoming dispositive motion due date on October 15,

   2019. Exhibit 1, page 7; Dkt. 10.

5. On September 19, 2019 at 4:51 PM, Plaintiff tried once more to amenably resolve

   the deadline absent the Court’s intervention.

6. At that time, Plaintiff’s counsel offered to extend the dispositive motion deadline

   as well as attempted to set the matter for a phone conference. Exhibit 1, page 8.

7. Defendant did not respond.

8. Since that time, Plaintiff has had the phone conference with the expert, who is

   available during the trial date scheduled for this matter.

9. Plaintiff retained that expert on September 25, 2019, while drafting this motion.

10. The expert needs to review relevant documents and depositions to prepare his

   report, which is why Plaintiff requests an extension to October 15, 2019.

11. On September 24, 2019 at 12:02 PM, Plaintiff emailed Defendant once again to

   schedule a call regarding the expert deadline extension. Exhibit 1, page 9. The

   call was scheduled for September 26, 2019 at 8:30 AM.

12. On September 25, 2019 at 2:44 PM, Plaintiff emailed a draft of this motion in

   preparation for the phone conference in an effort to further meet and confer.

13. On September 26, 2019, Plaintiff and Defendant participated in a meet and

   confer conference at 8:30 AM in good faith. On that conference call was Danielle

   Baudhuin for Defendant and Jesse R. Binnall and Lindsay R. McKasson for

   Plaintiff. During that conference, Plaintiff tried to be creative in coming up with




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   a solution to avoid motion practice, including again offering to consent to

   extending the dispositive motion deadline and offering to truncate Plaintiff’s own

   response time to Defendant’s motion. Defendant took the offer under

   advisement, but then declined via email later that day. Exhibit 1, page 13.

      I swear that the foregoing is true and correct under the laws of the United

States of America on this 30th day of September 2019.




DATED: September 30, 2019              Respectfully submitted,


                                       By: /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 30, 2019, I filed the foregoing using the

Clerk’s CM/ECF system, which will provide notice to all counsel of record.


                                       By: /s/ Jesse R. Binnall
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